Case No. 1:22-cv-01129-NYW-SKC Document 244-15
                                        236-15 filed 01/11/24
                                                     12/11/23 USDC Colorado pg 1
                                     of 5




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 44
       Case No. 1:22-cv-01129-NYW-SKC Document 244-15
                                               236-15 filed 01/11/24
                                                            12/11/23 USDC Colorado pg 2
                                            of 5

        From: M Lindell <                   >
           To: Kim Rasmussen <                     >
      Subject: Fwd: Trying to Get to Trump Important Information for Trial
         Date: Thu, 11 Feb 2021 14:58:01 -0600




   Begin forwarded message:


    From:
    Date: February 9, 2021 at 11:27:11 PM CST
    To: M Lindell
    Subject: Trying to Get to Trump Important Information for Trial
    Reply-To:



    Dear Mike,
    I called your company last night not knowing how to get a hold of Trump and thought you may be able to reach
    him and his team. I had fun singing Amazing Grace at the top of my lungs over and over and over while on
    hold. Did you see the movie "Amazing Grace"? The song was written by the captain of a ship that brought
    slaves to England and then his conscious got the better of him and he stopped and became a priest or minister
    thus he once was lost but now he is found.

    I was watching the Senate live the day the riot happened and that was at the time they were discussing voter
    fraud in Arizona. Then a flood of Senators got up and left they may even have called a recess because of it. My
    deduction is that the dems that got up and left knew about this in advance. Now the media were there to video
    the violence. When they first broke through and walked through the capitol in single file they were peaceful
    and even social distancing. They were allowed to go through and no one tried to stop them. Some of the
    people that got in were probably part of the demonstration and just happened to be close to the back door when
    those that broke through (probably Antifa) so they went in peacefully for the hell of it because they could. It
    was not a violent break-in they pushed through but were allowed to. Not like protrayed on TV. Look at the
    original footage and I think it is the smoking gun or our burning bush. Believe me security is tight and they
    would not have gotten through if someone didn't aid and abet.
    That's number one.

    Number 2, you may already be aware of this and if not I will see if I can find it and send it to you. There was a
    reporter doing an artical on Antifa and infiltrated them and was on a conference call. There was this man on
    the call named Eric Coomer saying not to worry, he had taken care of everything and they were going to get F'n
    Trump and he had taken care of rigging the election. So this reporter started researching this man and found he
    is head of Security for Voter Fraud for Dominian!
    This to me is the most incriminating evidence. If I can find it I will see if I can send it to an email so I can
    forward it to you if you don't already have it.

    I am in Belize and when I came down over 2 1/2 years ago for a 2 week vacation and never left and getting
    residency here, I was a staunch Democrat that thought Trump was great entertainment on the late night shows
    and I couldn't believe how rude he was to the heads of state. I thought how unpresidential. The good thing is
    that I am not stuck to my beliefs and I am a chess player and some things just started making sense even his
    treatment of the different heads of state. I have all the different TV stations and I started recognizing how fake



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Case No. 1:22-cv-01129-NYW-SKC Document 244-15 filed 01/11/24 USDC Colorado pg 3
                                     of 5
      Case No. 1:22-cv-01129-NYW-SKC Document 244-15
                                              236-15 filed 01/11/24
                                                           12/11/23 USDC Colorado pg 4
                                           of 5

       From: M Lindell
          To: Kim Rasmussen
     Subject: Fwd: Regarding your lawsuit
        Date: Thu, 25 Feb 2021 09:25:08 -0600




   Begin forwarded message:


    From: "mark.debarbieri"
    Date: February 25, 2021 at 9:22:31 AM CST
    To: M Lindell
    Subject: Regarding your lawsuit
    Reply-To: "mark.debarbieri"



    Hi Mike, you are a little difficult to making contact, but I called customer service, and waited 20
    minutes. I am not a client, but I have very important information regarding your lawsuit with
    Dominion. I am a researcher/writer and author, and I tripped over the following article titled: "The
    Supreme Court and the Electoral Coup," by Scott S. Powell. It is two standard pages long, but I
    want to draw your attention to the following excerpt:

    "Dominion vice president of U.S. engineering, Eric Coomer, is on record acknowledging the
    programmability of Dominion voting technology to fix votes, saying "Don't worry about the
    election; Trump's not going to win. I made f***ing sure of that!"

    What prompted me to contact you is about your confrontation with Bob Sellers on Newsmax. I
    took a copy of the above article, along with a cover letter about your awful treatment by the news
    anchor. I sent that probably more than one week ago and have not heard anything since, which is
    why I am contacting you, because there was no news regarding to what I sent to Newsmax--I also
    contacted Fox News about this matter, but heard nothing from them either.

    I would be more than pleased to send you these documents either by email or snail-mail, and put a
    tracking number on it. I use protonmail, which is secure by encryption. However, I suspect I am
    being monitored by the FBI--not because of any criminal intent, but because of my writings and
    commentaries. They did call me one time, but I refused to speak with them, on the basis that
    anything the government does is strictly by writing and documentation--contract/ administrative
    law. I have been a student of law for the past 26 years--no I am not any kind of attorney, nor do I
    want to belong to that Communist organization known as the BAR.

    Mark-Edward: DeBarbieri su juris




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      Case No. 1:22-cv-01129-NYW-SKC Document 244-15
                                              236-15 filed 01/11/24
                                                           12/11/23 USDC Colorado pg 5
                                           of 5
    Sent with ProtonMail Secure Email.




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